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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                      §
In re:                                                §   Chapter 11
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TALEN ENERGY SUPPLY, LLC,                             §   Case No. 22-90054 (MI)
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                                                      §   (Emergency Hearing Requested)
                  Debtor.                             §
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In re:                                                §   Chapter 11
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TALEN MONTANA HOLDINGS, LLC, §                            Case No. 22-_____ ([●])
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In re:                                                §   Chapter 11
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TALEN MONTANA, LLC,                                   §   Case No. 22-_____ ([●])
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LLC,                                                  §       Case No. 22-_____ ([●])
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COLSTRIP COMM SERV, LLC,                              §       Case No. 22-_____ ([●])
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MONTOUR, LLC,                                         §       Case No. 22-_____ ([●])
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In re:                                                §       Chapter 11
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RAVEN POWER GENERATION                                §
HOLDINGS LLC,                                         §       Case No. 22-_____ ([●])
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RAVEN POWER FINANCE LLC,                              §       Case No. 22-_____ ([●])
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SMALLWOOD LLC,                                        §       Case No. 22-_____ ([●])
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H.A. WAGNER LLC,                                      §       Case No. 22-_____ ([●])
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LANDFILL, LLC,                                        §       Case No. 22-_____ ([●])
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RMGL HOLDINGS LLC,                                    §       Case No. 22-_____ ([●])
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LADY JANE COLLIERIES, INC.,                           §       Case No. 22-_____ ([●])
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HOLTWOOD, LLC,                                        §       Case No. 22-_____ ([●])
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                                                      §
In re:                                                §        Chapter 11
                                                      §
DARTMOUTH POWER ASSOCIATES §
LIMITED PARTNERSHIP,                                  §        Case No. 22-_____ ([●])
                                                      §
                                                      §        (Emergency Hearing Requested)
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN II GROWTH PARENT LLC,                           §        Case No. 22-_____ ([●])
                                                      §
                                                      §        (Emergency Hearing Requested)
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
                                                      §
In re:                                                §        Chapter 11
                                                      §
TALEN II GROWTH HOLDINGS LLC, §                                Case No. 22-_____ ([●])
                                                      §
                                                      §        (Emergency Hearing Requested)
                  Debtor.                             §
                                                      §
Tax I.D. No. (XX-XXXXXXX)                             §
------------------------------------------------------§
In re:                                                §        Chapter 11
                                                      §
TALEN TECHNOLOGY                                      §
VENTURES LLC,                                         §        Case No. 22-_____ ([●])
                                                      §
                                                      §        (Emergency Hearing Requested)
                  Debtor.                             §
                                                      §
Tax I.D. No. (N/A)                                    §
------------------------------------------------------§




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                         EMERGENCY MOTION OF DEBTORS
                       PURSUANT TO BANKRUPTCY RULE 1015(b)
                   AND BANKRUPTCY LOCAL RULE 1015-1 FOR ORDER
               DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

      EMERGENCY RELIEF HAS BEEN REQUESTED. RELIEF IS REQUESTED NOT
      LATER THAN 4:00 P.M. (CENTRAL PREVAILING TIME) ON TUESDAY, MAY 10, 2022.

      IF YOU OBJECT TO THE RELIEF REQUESTED OR YOU BELIEVE THAT
      EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU MUST APPEAR AT
      THE HEARING IF ONE IS SET, OR FILE A WRITTEN RESPONSE PRIOR TO THE
      DATE THAT RELIEF IS REQUESTED IN THE PRECEDING PARAGRAPH.
      OTHERWISE, THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND
      GRANT THE RELIEF REQUESTED.

      A HEARING WILL BE CONDUCTED ON THIS MATTER ON TUESDAY, MAY 10, 2022
      AT 4:00 P.M. (CENTRAL PREVAILING TIME) IN COURTROOM 404, 4TH FLOOR, 515
      RUSK AVENUE, HOUSTON, TX 77002.

      PARTICIPATION AT THE HEARING WILL ONLY BE PERMITTED BY AN AUDIO
      AND VIDEO CONNECTION.

      AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL-IN FACILITY.
      YOU MAY ACCESS THE FACILITY AT 832-917-1510. ONCE CONNECTED, YOU
      WILL BE ASKED TO ENTER THE CONFERENCE ROOM NUMBER. JUDGE ISGUR’S
      CONFERENCE ROOM NUMBER IS 954554. VIDEO COMMUNICATION WILL BE BY
      USE OF THE GOTOMEETING PLATFORM. CONNECT VIA THE FREE
      GOTOMEETING APPLICATION OR CLICK THE LINK ON JUDGE ISGUR’S HOME
      PAGE. THE MEETING CODE IS “JUDGEISGUR”. CLICK THE SETTINGS ICON IN
      THE UPPER RIGHT CORNER AND ENTER YOUR NAME UNDER THE PERSONAL
      INFORMATION SETTING.

      HEARING APPEARANCES MUST BE MADE ELECTRONICALLY IN ADVANCE OF
      BOTH ELECTRONIC AND IN-PERSON HEARINGS. TO MAKE YOUR APPEARANCE,
      CLICK THE “ELECTRONIC APPEARANCE” LINK ON JUDGE ISGUR’S HOME
      PAGE. SELECT THE CASE NAME, COMPLETE THE REQUIRED FIELDS AND CLICK
      “SUBMIT” TO COMPLETE YOUR APPEARANCE.

                    Talen Energy Supply, LLC and its debtor affiliates in the above-captioned

chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”):




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                                                  Background

                    1.         On the date hereof (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”). The Debtors are authorized to continue to operate their business and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No trustee, examiner, or statutory committee of creditors has been appointed in these chapter 11

cases.

                    2.         The Debtors, together with their non-debtor affiliates (collectively,

the “Company”), are one of the largest competitive energy and power generation companies in

North America, owning and/or controlling approximately 13,000 megawatts of generating

capacity in wholesale U.S. power markets in the mid-Atlantic, Massachusetts, Texas, and

Montana. In addition to geographic diversity, the Company’s generation fleet reflects significant

technological and fuel diversity including nuclear, natural gas, oil, and coal, with certain of the

Company’s facilities capable of utilizing multiple fuel sources.

                    3.         Additional information regarding the Debtors’ business and capital

structure and the circumstances leading to the commencement of these chapter 11 cases is set forth

in the Declaration of Ryan Leland Omohundro in Support of the Debtors’ Chapter 11 Petitions

and First Day Relief (the “Omohundro Declaration”),1 which has been filed with the Court

contemporaneously herewith and is incorporated by reference herein.




1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Omohundro Declaration.




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                                                   Jurisdiction

                    4.         The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§ 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                Relief Requested

                    5.         By this Motion, pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Bankruptcy Local Rules

for the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local

Rules”), the Debtors request entry of an order directing consolidation of their chapter 11 cases for

procedural purposes only.

                    6.         A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                                     Relief Requested Should Be Granted

                    7.         Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or

more petitions are pending in the same court by or against . . . a debtor and an affiliate, the court

may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). Section 101(2) of the

Bankruptcy Code defines the term “affiliate” to mean:

                    (A) [an] entity that directly or indirectly owns, controls, or holds with power
                    to vote, 20 percent or more of the outstanding voting securities of the debtor,
                    other than an entity that holds such securities—

                               (i) in a fiduciary or agency capacity without sole discretionary
                               power to vote such securities; or

                               (ii) solely to secure a debt, if such entity has not in fact exercised
                               such power to vote;

                    (B) [a] corporation 20 percent or more of whose outstanding voting
                    securities are directly or indirectly owned, controlled, or held with power to
                    vote, by the debtor, or by an entity that directly or indirectly owns, controls,



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                    or holds with power to vote, 20 percent or more of the outstanding voting
                    securities of the debtor, other than an entity that holds such securities—

                               (i) in a fiduciary or agency capacity without sole discretionary
                               power to vote such securities; or

                               (ii) solely to secure a debt, if such entity has not in fact exercised
                               such power to vote . . . .

11 U.S.C. § 101(2).              In addition, Bankruptcy Local Rule 1015-1 provides for the joint

administration of related chapter 11 cases. The Debtors are affiliates of one another because Talen

Energy Supply, LLC owns, either directly or indirectly, 100% of the outstanding ownership

interests in each of the other Debtors. Accordingly, the Court is authorized to jointly administer

these chapter 11 cases for procedural purposes.

                    8.         Joint administration of these chapter 11 cases will save the Debtors and their

estates substantial time and expense because it will remove the need to prepare, replicate, file, and

serve duplicative notices, applications, and orders. Joint administration will also relieve the Court

from entering duplicative orders and maintaining duplicative files and dockets. The United States

Trustee for the Southern District of Texas and other parties-in-interest will similarly benefit from

joint administration of these chapter 11 cases, sparing them the time and effort of reviewing

duplicative dockets, pleadings, and papers.

                    9.         Joint administration will not adversely affect creditors’ rights because this

Motion requests only the administrative consolidation of the estates for procedural purposes, and

does not seek substantive consolidation. As such, each creditor will continue to hold its claim

against a particular Debtor’s estate after this Motion is approved.

                    10.        The Debtors respectfully request that each of the Debtors’ chapter 11 cases

be administered under a consolidated caption, in the following form:




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                  §
In re:                            §                            Chapter 11
                                  §
TALEN ENERGY SUPPLY, LLC, et al., §                            Case No. 22-90054 (MI)
                                  §
                                  §                            (Jointly Administered)
         Debtors.1                §
                                  §
1
  A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
claims and noticing agent at https://cases.ra.kroll.com/talenenergy. The Debtors’ primary mailing address is
1780 Hughes Landing Boulevard, Suite 800, The Woodlands, Texas 77380.

                    11.        The Debtors also seek the Court’s direction that a notation substantially

similar to the following notation be entered on the docket in each Debtor’s chapter 11 case (other

than the chapter 11 case of Talen Energy Supply, LLC) to reflect the joint administration of these

cases:

                    An order has been entered in this case directing the procedural consolidation and
                    joint administration of the chapter 11 cases of Talen Energy Supply, LLC, et al.
                    The docket in Case No. 22-90054 (MI) should be consulted for all matters affecting
                    this case.

                    12.        Based on the foregoing, the Debtors submit that the relief requested is

necessary and appropriate, is in the best interests of their estates and creditors, and should be

granted in all respects.

                                                      Notice

                    13.        Notice of this Motion will be served on any party entitled to notice pursuant

to Bankruptcy Rule 2002 and any other party entitled to notice pursuant to Bankruptcy Local

Rule 9013-1(d).




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                                            No Previous Request

                    14.        No previous request for the relief sought herein has been made by the

Debtors to this or any other court.




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                    WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: May 9, 2022
       Houston, Texas
                                             Respectfully submitted,

                                               /s/ Gabriel A. Morgan
                                             WEIL, GOTSHAL & MANGES LLP
                                             Gabriel A. Morgan (24125891)
                                             Clifford Carlson (24090024)
                                             700 Louisiana Street, Suite 1700
                                             Houston, Texas 77002
                                             Telephone: (713) 546-5000
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                                             -and-
                                             WEIL, GOTSHAL & MANGES LLP
                                             Matthew S. Barr (pro hac vice pending)
                                             Alexander Welch (pro hac vice pending)
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                                             767 Fifth Avenue
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                                             Email: Matt.Barr@weil.com
                                                      Alexander.Welch@weil.com
                                                      Katherine.Lewis@weil.com

                                             Proposed Attorneys for Debtors
                                             and Debtors in Possession




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                                     Certificate of Service

I hereby certify that on May 9, 2022, a true and correct copy of the foregoing document was served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas, and will be served as set forth in the Affidavit of Service to be filed by the
Debtors’ proposed claims, noticing, and solicitation agent.



                                                       /s/ Gabriel A. Morgan
                                                      Gabriel A. Morgan




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